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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

HOLLOW SPIRITS, LLC,
Plaintiff,
VS. Civ. No. 18-257 MV/JFR

CORSON DISTILLING SYSTEMS, INC.,
TORY CORSON, and JOSH CORSON,

Defendants.

AFFIDAVIT OF H. JESSE JACOBUS, II] PURSUANT TO Feb, R, Cly. P. 55(a)

H. Jesse Jacobus, III, being duly sworn, hereby states as follows:

1. I am over 18 years of age and competent to make this affidavit in the above-
referenced matter. I have knowledge of the facts set forth in this affidavit and can testify to these
facts if called upon to do so.

2. I am the counsel of record for Plaintiff Hollow Spirits, LLC (Freedman Boyd
Hollander Goldberg Urias & Ward P.A.).

3, On March 16, 2018, Plaintiff filed its Complaint for Damages in New Mexico State
Court against Defendant Corson Distilling.

4, On March 16, 2018, Defendant Corson Distilling filed a Notice of Removal to the
United States District Court for the District of New Mexico.

5, On October 23, 2018, Perkins Coie LLP filed a Motion to Withdraw as Attorney of
Record for Defendant Corson Distilling (Doc. 22).

6. On October 24, 2018, the Court entered an Order Denying (Perkins Coie LLP’s)

Motion to Withdraw as Attorney of Record. The Court’s Order further mandated that Defendant
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Corson Distilling had thirty (30) days to retain substitute counsel and that Perkins Coie LLP could
refile its motion in conjunction with a request for substitution of Defendant’s newly retained
counsel no later than forty-five (45) days from entry of the Court’s Order (Doc. 22).

7. On December 17, 2018, Perkins Coie, LLP filed a Renewed Motion to Withdraw
As Attorney of Record, stating Defendant Corson Distilling’s representatives had not responded
to any communications from Perkins Coie, LLP since approximately September 2018 (Doc 30).

8. On January 11, 2019, the Court granted Perkins Coie LLP’s Renewed Motion to
Withdraw As Attorney of Record (Doc 30).

9. In the Court’s Order dismissing Perkins Coie as Defendant Corson Distilling’s
counsel, the Court stated “Defendant Corson Distilling Systems, Inc. shall have until January 25,
2019 to cause new counsel to enter an appearance on its behalf, and failure to do so could result in
the imposition of sanctions up to and including entry of default judgment against Defendant
{Corson Distilling] [.]” (Doc 30).

10. As of the filing of this affidavit, Defendant Corson Distilling still has not had new
counsel enter appearance on its behalf.

11. Furthermore, on February 6, 2019, Plaintiff filed its First Amended Complaint for
Damages, adding Tory Corson and Josh Corson, the owners and operators of Defendant Corson
Distilling, as Defendants (Doc 34).

12. On March 23, 2019, Plaintiff filed the Return of Summons for Defendant Tory
Corson (Doc. 40).

13. On March 23, 2019, Plaintiff filed the Return of Summons for Defendant Josh

Corson (Doc. 39).
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14. Defendant Tory Corson and Defendant Josh Corson were both required under the
Rules to file their Answers by May 6, 2019.

15. Defendant Tory Corson and Defendant Josh Corson have not filed any pleadings
with the Court.

16. Defendant Tory Corson and Defendant Josh Corson have not had counsel! enter
appearances on their behalf.

17. Defendant Tory Corson and Defendant Josh Corson are not on active duty leave
with the military.

18. Defendant Corson Distilling, Defendant Tory Corson and Defendant Josh Corson

have failed to plead or otherwise defend this matter.

FURTHER AFFIANT SAYETH NOT.

  

 

H. JESSE JACOBUS, IH

STATE OF NEW MEXICO )
) ss.
COUNTY OF BERNALILLO )

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Subscribed and sworn to before me this 2 day of August, 2019, by H. Jesse Jacobus, TH.

 

OFFICIAL SAL
Alysha C, Smith

NOTARY PUBLIC
STATE OF NEW PRES

My Commission Expires {-

   

 

 

 

 

Notary Puplic

My Commissions Expires:

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